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ATTORNEYS FOR APPELLANT JAMES DONDERO

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                             §
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §                        Case No. 19-34054
                                   §
      Debtor.                      §                        Chapter 11

                                   §
JAMES DONDERO,                     §
                                   §
    Appellant.                     §
                                   §
v.                                 §
                                   §                         Civil Action No. 3:21-cv-01979-S
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Appellee.                      §


               APPELLANT’S CERTIFICATE OF INTERESTED PERSONS

         James D. Dondero (“Appellant”), the appellant in the above-referenced matter, pursuant to

Rule 8012.1 of the Local Bankruptcy Rules for the Northern District of Texas, hereby files this

Certificate of Interested Persons and certifies that the following persons and entities may be

financially interested in the outcome of this appeal:

         1.     Appellee Highland Capital Management, L.P., the Reorganized Debtor (the

“Reorganized Debtor”) in the bankruptcy case captioned In re Highland Capital Management,




APPELLANT’S CERTIFICATE OF INTERESTED PERSONS                                               PAGE 1
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L.P., case no. 19-34054-sgj11, pending in the United States Bankruptcy Court of the Northern

District of Texas. Counsel for Reorganized Debtor-Appellee is the firm of Pachulski Stang Ziehl

& Jones LLP. The Highland Claimant Trust and the Litigation Sub-Trust, two vehicles created

pursuant to the Reorganized Debtor’s confirmed plan of reorganization, may also be financially

interested in the outcome of this appeal.

       2.      James Dondero as the Appellant in this appeal. Mr. Dondero’s counsel is the law

firm of Bonds Ellis Eppich Schafer Jones LLP and Vedder Price P.C.

       3.      The Charitable DAF Fund, L.P., CLO Holdco, Ltd., Mark Patrick, Sbaiti &

Company, PLLC, Mazin A. Sbaiti, and Jonathan Bridges, who are appellants in a related appeal

of the same order pending under civil action number 3:21-cv-01974-X. Counsel for appellants in

that appeal and certain of the appellants before the bankruptcy court is the law firm of Sbaiti &

Company PLLC. Counsel for Mark Patrick before the bankruptcy court was the law firm of Kelly

Hart Pitre.

       Appellant reserves the right to amend or supplement this certificate as and if necessary or

appropriate.

Dated: September 23, 2021                   Respectfully submitted,

                                            /s/ Bryan C. Assink
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                                            -and-


APPELLANT’S CERTIFICATE OF INTERESTED PERSONS                                              PAGE 2
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                                             Michael M. Eidelman
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                                             ATTORNEYS FOR APPELLANT JAMES DONDERO


                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on September 23, 2021, a true and correct copy of
the foregoing document was served via the Court’s CM/ECF system on counsel for Appellee
Highland Capital Management, L.P. and on all other parties requesting or consenting to such
service in this case.

                                                    /s/ Bryan C. Assink
                                                    Bryan C. Assink




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